                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF TENNESSEE
                                    NASHVILLE DIVISION

  ALVIN HAWKINS, On Behalf of                       )
  Himself and All Others Similarly                  )
  Situated,                                         )    COLLECTIVE ACTION
                                                    )
             Plaintiff,                             )    CASE NO. ____________
                                                    )
  v.                                                )    JUDGE _______________
                                                    )
  MIDDLE TENNESSEE PIZZA, INC.;                     )    JURY DEMAND
  PATRICIA HOUSEMAN; DOE                            )
  CORPORATION 1-10; JOHN DOE 1-10                   )
                                                    )
             Defendants.                            )
                                                    )


                              COLLECTIVE ACTION COMPLAINT



        1.        Alvin Hawkins, on behalf of himself and similarly-situated individuals, brings this

action against Defendants Middle Tennessee Pizza, Inc.; Patricia Houseman; Doe Corporation 1-

10; and John Doe 1-10 (“Defendants”). Plaintiff seeks appropriate monetary, declaratory, and

equitable relief based on Defendants’ willful failure to compensate Plaintiff and similarly-situated

individuals with minimum wages as required by the Fair Labor Standards Act (“FLSA”).

        2.        Defendants operate at least eleven Domino’s Pizza locations in Tennessee

(“Defendants’ Domino’s stores”).

        3.        Plaintiff seeks to represent the delivery drivers who have worked at the Defendants’

Domino’s stores.




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        4.     Defendants repeatedly and willfully violated the Fair Labor Standards Act by

failing to adequately reimburse delivery drivers for their delivery-related expenses, thereby failing

to pay delivery drivers the legally mandated minimum wages for all hours worked.

        5.     All delivery drivers at the Defendants’ Domino’s stores, including Plaintiff, have

been subject to the same or similar employment policies and practices.

                                 JURISDICTION AND VENUE

        6.     Under 28 U.S.C. § 1331 and 29 U.S.C. § 216(b), this Court has jurisdiction over

Plaintiff’s FLSA claims.

        7.     Venue in this Court is proper under 28 U.S.C. § 1391(b) because Defendants reside

in this district, and a substantial part of the events giving rise to the claim herein occurred in this

district.

                                             PARTIES

A. Plaintiff

    Alvin Hawkins

        8.     Plaintiff Alvin Hawkins is a resident of Shelbyville, Tennessee (Bedford County).

        9.     Plaintiff was an “employee” of all the Defendants as defined in the FLSA.

        10.    Plaintiff has given written consent to join this action.

B. Defendants

Middle Tennessee Pizza, Inc.

        11.    Defendant Middle Tennessee Pizza, Inc. is a domestic corporation authorized to do

business under the laws of Tennessee.

        12.    Middle Tennessee Pizza, Inc. has a principal address at 421 E. Vine Street,

Murfreesboro, TN.

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       13.     Middle Tennessee Pizza, Inc. was formed as a for-profit corporation in 1979 and

has been in business since that time.

       14.     Middle Tennessee Pizza, Inc. operates the Defendants’ Domino’s stores.

       15.     Upon information and belief, Middle Tennessee Pizza, Inc. owns at least eleven

Domino’s stores in Tennessee.

       16.     Upon information and belief, Patricia Houseman has entered into a franchise

agreement with Domino’s Pizza, Inc., Domino’s Pizza Franchising, LLC, and/or Domino’s Pizza,

LLC regarding the operation of the Middle Tennessee Pizza, Inc. Domino’s Pizza stores.

       17.     Middle Tennessee Pizza, Inc. lists eleven separate locations on their website:

               a. Tullahoma

               b. Lebanon

               c. Columbia

               d. Dickson

               e. Franklin

               f. McMinnville

               g. Shelbyville

               h. Smyrna

               i. Murfreesboro Northfield

               j. Murfreesboro Riverdale

               k. Murfreesboro Campus

       18.     On its website, Middle Tennessee Pizza Inc. describes itself as “a franchise of

Domino’s Pizza.”




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          19.   Middle Tennessee Pizza, Inc. was the entity that appeared on Plaintiff’s paystubs

for work he completed for Defendants’ Domino’s stores.

          20.   Middle Tennessee Pizza, Inc. had substantial control over Plaintiff and similarly

situated employees’ working conditions, and over the unlawful policies and practices alleged

herein.

          21.   Middle Tennessee Pizza, Inc. had direct or indirect control of the terms and

conditions of Plaintiff’s work and the work of similarly situated employees.

          22.   At all relevant times, Middle Tennessee Pizza, Inc. maintained control, oversight,

and direction over Plaintiff and similarly situated employees, including, but not limited to, hiring,

firing, disciplining, timekeeping, payroll, reimbursements, pay rates, deductions, and other

practices.

          23.   Middle Tennessee Pizza, Inc. was an “employer” of Plaintiff and similarly situated

employees as that term is defined by the FLSA.

          24.   At all relevant times, Middle Tennessee Pizza, Inc. had been an enterprise engaged

in “the production of goods for commerce” within the meaning of the phrase as used in the FLSA.

          25.   Middle Tennessee Pizza, Inc.’s gross revenue exceeded $500,000 per year.

Patricia Houseman

          26.   Defendant Patricia Houseman is the owner of Middle Tennessee Pizza, Inc. and the

Defendants’ Domino’s stores.

          27.   Upon information and belief, Patricia Houseman is the owner of Middle Tennessee

Pizza, Inc.

          28.   Upon information and belief, Patricia Houseman is the president of Middle

Tennessee Pizza, Inc.


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        29.    Upon information and belief, Patricia Houseman operates at least eleven Domino’s

stores in Tennessee pursuant to franchise agreement(s) she has entered with Domino’s Pizza, Inc.,

Domino’s Pizza Franchising, LLC, and/or Domino’s Pizza, LLC.

        30.    Patricia Houseman is individually liable to the delivery drivers at the Defendants’

Domino’s stores under the definitions of “employer” set forth in the FLSA because she owns and

operates the Defendants’ Domino’s stores, serves as president and owner of Middle Tennessee

Pizza, Inc., ultimately controlled significant aspects of the Defendants’ Domino’s stores’ day-to-

day functions, and ultimately controlled compensation and reimbursement of employees. 29

U.S.C. § 203(d).

        31.    Upon information and belief, Patricia Houseman is the franchisee of the

Defendants’ Domino’s stores.

        32.    At all relevant times, by virtue of her role as owner and president of the Defendants’

Domino’s stores, Patricia Houseman has had financial control over the operations at each of the

Defendants’ Domino’s stores.

        33.    At all relevant times, by virtue of her role as owner and president of the Defendants’

Domino’s stores, Patricia Houseman has had a role in significant aspects of the Defendants’

Domino’s stores’ day to day operations.

        34.    At all relevant times, by virtue of her role as owner and president of the Defendants’

Domino’s stores, Patricia Houseman has had control over the Defendants’ Domino’s stores’ pay

policies.

        35.    At all relevant times, by virtue of her role as owner and president of the Defendants’

Domino’s stores, Patricia Houseman has had power over personnel and payroll decisions at the

Defendants’ Domino’s stores, including but not limited to influence of delivery driver pay.


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       36.     At all relevant times, by virtue of her role as owner and president of the Defendants’

Domino’s stores, Patricia Houseman has had the power to hire, fire and discipline employees,

including delivery drivers at the Defendants’ Domino’s stores.

       37.     At all relevant times, by virtue of her role as owner and president of the Defendants’

Domino’s stores, Patricia Houseman has had the power to stop any illegal pay practices that

harmed delivery drivers at the Defendants’ Domino’s stores.

       38.     At all relevant times, by virtue of her role as owner and president of the Defendants’

Domino’s stores, Patricia Houseman has had the power to transfer the assets and liabilities of the

Defendant entities.

       39.     At all relevant times, by virtue of her role as owner and president of the Defendants’

Domino’s stores, Patricia Houseman has had the power to declare bankruptcy on behalf of the

Defendant entities.

       40.     At all relevant times, by virtue of her role as owner and president of the Defendants’

Domino’s stores, Patricia Houseman has had the power to enter into contracts on behalf of each of

the Defendants’ Domino’s stores.

       41.     At all relevant times, by virtue of her role as owner and president of the Defendants’

Domino’s stores, Patricia Houseman has had the power to close, shut down, and/or sell each of the

Defendants’ Domino’s stores.

       42.     At all relevant times, by virtue of her role as owner and president of the Defendants’

Domino’s stores, Patricia Houseman has had authority over the overall direction of each of

Defendants’ Domino’s stores and was ultimately responsible for their operations.

       43.     The Defendants’ Domino’s stores function for Patricia Houseman’s profit.




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       44.     Patricia Houseman has had influence over how the Defendants’ Domino’s stores

can run more profitably and efficiently.

Doe Corporation 1-10

       45.     Upon information and belief, Defendants owned, operated, and controlled other

entities and/or limited liability companies that also comprised part of the Defendants’ Domino’s

stores, and qualified as “employers” of Plaintiff and the delivery drivers at the Defendants’

Domino’s stores as that term is defined by the FLSA and Tennessee wage law.

       46.     Upon information and belief, Patrician Houseman owns and/or operates, in whole

or in part, a number of other entities that make up part of the Defendants’ Domino’s operation.

       47.     Upon information and belief, the franchisor, Domino’s Pizza, may also be liable as

an employer of the delivery drivers employed at Defendants’ Domino’s stores.

       48.     The identities of these additional Defendants should be revealed as discovery

progresses and can be named at that time.

John Doe 1-10

       49.     Upon information and belief, there are additional individuals who also qualify as

“employers” of Plaintiff and the delivery drivers at the Defendants’ Domino’s stores as that term

is defined by the FLSA and Tennessee wage law.

       50.     Upon information and belief, Patricia Houseman has entered into co-owner

relationships with a number of her managers and/or business partners, and those individuals might

also qualify as “employers” of Plaintiff and the delivery drivers at the Defendants’ Domino’s stores

as that term is defined by the FLSA and Tennessee wage law.

       51.     The identities of these additional Defendants should be revealed as discovery

progresses and can be named at that time.


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                                             FACTS

                             COLLECTIVE FACTUAL ALLEGATIONS

       52.     During all relevant times, Defendants operated the Defendants’ Domino’s stores.

       53.     Plaintiff and the similarly situated persons Plaintiff seeks to represent are current

and former delivery drivers at the Defendants’ Domino’s stores.

       54.     All delivery drivers employed at the Defendants’ Domino’s stores over the last

three years have had essentially the same job duties.

       55.     When there were no deliveries to make, Defendants’ delivery drivers are required

to work inside the Defendants’ Domino’s stores building pizza boxes, making pizzas, cleaning,

preparing food items, taking orders, and completing other duties inside the restaurant as necessary.

       56.     The job duties performed by delivery drivers inside the store are not related to their

duties while they were out on the road making deliveries.

       57.     Delivery drivers do not complete their inside job duties contemporaneously with

their delivery job duties.

       58.     The delivery drivers at the Defendants’ Domino’s stores work “dual jobs.”

       59.     Defendants pay delivery drivers at Defendants’ Domino’s stores at or near

minimum wage for all hours worked.

       60.     Defendants require delivery drivers at Defendants’ Domino’s stores to provide cars

to use while completing deliveries for Defendants.

       61.     Defendants require delivery drivers to maintain and pay for operable, safe, and

legally compliant automobiles to use in delivering Defendants’ pizza and other food items.

       62.     Defendants require delivery drivers to incur and/or pay job-related expenses,

including but not limited to automobile costs and depreciation, gasoline expenses, automobile


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maintenance and parts, insurance, financing charges, licensing and registration costs, cell phone

costs, GPS charges, and other equipment necessary for delivery drivers to complete their job

duties.

          63.   Pursuant to such requirements, Plaintiff and other similarly situated employees

purchased gasoline, vehicle parts and fluids, automobile repair and maintenance services,

automobile insurance, suffered automobile depreciation and damage, financing, licensing, and

registration charges, and incurred cell phone and data charges all for the primary benefit of

Defendants.

          64.   The Defendants’ Domino’s stores reimburse their delivery drivers at a per mile rate.

          65.   Defendants reimburse their drivers for their automobile expenses by paying them

approximately $.28 per mile.

          66.   Defendants’ reimbursement payments have no connection to the actual expenses

incurred by the delivery drivers.

          67.   The Defendants’ Domino’s stores do not track or record the delivery drivers’ actual

expenses.

          68.   The Defendants’ Domino’s stores do not collect receipts from their delivery drivers

related to the expenses they incur while completing deliveries.

          69.   The Defendants’ Domino’s stores do not reimburse their delivery drivers based on

the actual expenses the delivery drivers incur.

          70.   The Defendants’ Domino’s stores do not reimburse their delivery drivers for the

actual expenses that delivery drivers incur.

          71.   The Defendants’ Domino’s stores do not reimburse their delivery drivers at the IRS

standard business mileage rate.


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          72.   The Defendants’ Domino’s stores do not even reasonably approximate the delivery

drivers’ actual expenses.

          73.   The Defendants’ Domino’s stores reimburse rate is not a reasonable approximation

of the delivery drivers’ actual expenses.

          74.   The   Defendants’    Domino’s    stores’   reimbursement    payments    result   in

reimbursements that are and/or were less than the IRS standard business mileage rate for each mile

driven.

          75.   According to the Internal Revenue Service, the standard mileage rate for the use of

a car during the relevant time periods have been:

                a.     2018: 54.5 cents/mile
                b.     2019: 58 cents/mile
                c.     2020: 57.5 cents/mile
                d.     2021: 56 cents/mile

          76.   Defendants also require delivery drivers to download and use an application on

their phones to track miles.

          77.   Thus, the delivery drivers at the Defendants’ Domino’s stores have incurred even

more in expenses than those contemplated by the IRS standard business mileage rate—e.g., cell

phone and data charges.

          78.   As a result of the automobile and other job-related expenses incurred by Plaintiff

and other similarly situated delivery drivers, they were deprived of minimum wages guaranteed to

them by the FLSA and Tennessee law.

          79.   Defendants have applied the same or similar pay policies, practices, and procedures

to all delivery drivers at the Defendants’ Domino’s stores.

          80.   Because Defendants paid their drivers a gross hourly wage at precisely, or at least

very close to, the applicable minimum wage, and because the delivery drivers incurred

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unreimbursed automobile expenses, the delivery drivers “kicked back” to Defendants an amount

sufficient to cause minimum wage violations. See 29 C.F.R. § 531.35.

         81.   Defendants have willfully failed to pay federal and Tennessee state minimum wage

to Plaintiff and similarly situated delivery drivers at the Defendants’ Domino’s stores.

                 PLAINTIFF’S INDIVIDUAL FACTUAL ALLEGATIONS

         82.   Plaintiff has worked at the Domino’s store at 757 Madison Street in Shelbyville,

Tennessee from approximately 2019 to the present.

         83.   When Plaintiff is not delivering food, he works inside the restaurant. His work

inside the restaurant includes building pizza boxes, making pizzas, cleaning, preparing food items,

taking orders and completing other duties inside the restaurant as necessary.

         84.   Plaintiff works dual jobs.

         85.   Plaintiff’s inside duties are not related to his delivery duties.

         86.   Plaintiff is paid approximately $7.50 per hour by Defendants for the hours he

works.

         87.   Plaintiff is required to use his own car to deliver pizzas.

         88.   Plaintiff is reimbursed a per mile rate for each of the delivery orders he completed.

         89.   Plaintiff is reimbursed $.28 for each mile driven.

         90.   Plaintiff is required to maintain and pay for operable, safe, and legally compliant

automobiles to use in delivering Defendants’ pizza and other food items.

         91.   Plaintiff is required to incur and/or pay job-related expenses, including but not

limited to automobile costs and depreciation, gasoline expenses, automobile maintenance and

parts, insurance, cell phone service, GPS service, automobile financing, licensing and registration

costs, and other equipment necessary for delivery drivers to complete their job duties.


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       92.     Plaintiff has purchased gasoline, vehicle parts and fluids, automobile repair and

maintenance services, automobile insurance, suffered automobile depreciation and damage,

automobile financing, licensing and registration costs, and incurred cell phone and data charges

all for the primary benefit of Defendants.

       93.     Defendants do not track the actual expenses incurred by Plaintiff.

       94.     Defendants do not ask Plaintiff to provide receipts of the expenses he incurs while

delivering pizzas for Defendants.

       95.     Defendants do not reimburse Plaintiff based on his actual delivery-related

expenses.

       96.     Plaintiff is not reimbursed at the IRS standard mileage rate for the miles he drives

while completing deliveries.

       97.     Defendants do not reimburse Plaintiff based on a reasonable approximation of his

expenses.

       98.     In 2019, for example, the IRS business mileage reimbursement has been $.58 per

mile, which reasonably approximated the automobile expenses incurred delivering pizzas.

http://www.irs.gov/Tax-Professionals/Standard-Mileage-Rates. During this time period, Plaintiff

was reimbursed $.28 per mile. Considering Plaintiff’s estimate of about 4.5 miles per delivery (4.5

miles x $.58 per mile = $2.61), Defendants under-reimbursed him by about $1.35 per delivery

($2.61 - $1.26). Since Plaintiff completed approximately 4 deliveries per hour, Plaintiff was under-

reimbursed by approximately $5.40 per hour ($1.35 x 4 deliveries per hour).

       99.     Additionally, Defendants now require delivery drivers to download and use an

application on their phones to track their miles driven.




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      100.     At one point, Defendants reimbursed Plaintiff for data usage on his phone related

to using the application.

     101.      However, Defendants stopped reimbursing Plaintiff and other delivery drivers for

data usage.

     102.      But Defendants still require Plaintiff to use the application for making deliveries.

     103.      Plaintiff incurs additional costs such as data usage and other fees for using the

application, which also undercuts his hourly wage.

     104.      Defendants failed to pay Plaintiff minimum wage as required by law.

                            COLLECTIVE ACTION ALLEGATIONS

     105.      Plaintiff brings the First Count on behalf of himself and all similarly situated current

and former delivery drivers employed at the Defendants’ Domino’s stores owned, operated, and

controlled by Defendants in Tennessee, during the three years prior to the filing of this Collective

Action Complaint and the date of final judgment in this matter, who elect to opt-in to this action

(the “FLSA Collective”).

     106.      At all relevant times, Plaintiff and the FLSA Collective have been similarly

situated, have had substantially similar job duties, requirements, and pay provisions, and have all

been subject to Defendants’ decision, policy, plan, practices, procedures, protocols, and rules of

willfully refusing to pay Plaintiff and the FLSA Collective minimum wage for all hours worked

and failing to reimburse delivery drivers for automobile expenses and other job-related expenses.

Plaintiff’s claims are essentially the same as those of the FLSA Collective.

     107.      Defendants’ unlawful conduct is pursuant to a company policy or practice.

     108.      Defendants are aware or should have been aware that federal law required them to

pay employees minimum wage for all hours worked and to fully reimburse for “tools of the trade.”


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     109.      Defendants’ unlawful conduct has been widespread, repeated, and consistent.

     110.      The First Count is properly brought under and maintained as an opt-in collective

action under 29 U.S.C. § 216(b).

     111.      The FLSA Collective members are readily identifiable and ascertainable.

In recognition of the services Plaintiff has rendered and will continue to render to the FLSA

Collective, Plaintiff will request payment of a service award upon resolution of this action.

                                      CAUSE OF ACTION

                                           Count 1
                 Failure to Pay Minimum Wages - Fair Labor Standards Act
                       (On Behalf of Plaintiff and the FLSA Collective)

     112.      Plaintiff restates and incorporates the foregoing allegations as if fully rewritten

herein.

     113.      Plaintiff and the FLSA Collective are or were non-exempt, hourly employees

entitled to receive no less than minimum wage for all hours worked.

     114.      Defendants paid Plaintiff and the FLSA Collective at or close to minimum wage

for all hours worked.

     115.      Defendants required Plaintiff and the FLSA Collective to pay for automobile

expenses and other job-related expenses out of pocket and failed to properly reimburse Plaintiff

and the FLSA Collective for said expenses.

     116.      By the acts and conduct described above, Defendants willfully violated the

provisions of the FLSA and disregarded the rights of Plaintiff and the FLSA Collective.

     117.      Plaintiff and the FLSA Collective have been damaged by Defendants’ willful

failure to pay minimum wage as required by law.




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      118.      As a result of Defendants’ willful violations, Plaintiff and the FLSA Collective are

entitled to damages, including, but not limited to, unpaid wages, unreimbursed expenses,

liquidated damages, costs, and attorneys’ fees.

                                       PRAYER FOR RELIEF

        WHEREFORE, Plaintiff Alvin Hawkins prays for all of the following relief:

        A.      Designation of this action as a collective action on behalf of the collective action

members and prompt issuance of notice to all similarly-situated members of an opt-in class,

apprising them of this action, permitting them to assert timely wage and hour claims in this action,

and appointment of Plaintiff and their counsel to represent the collective action members.

        B.      Unpaid minimum wages, reimbursement of expenses, and an additional and equal

amount as liquidated damages pursuant to the FLSA and supporting regulations.

        C.      An award of prejudgment and post-judgment interest.

        D.      An award of costs and expenses of this action, together with reasonable attorneys’

fees and expert fees.

        E.      Such other legal and equitable relief as the Court deems appropriate.

                                        JURY DEMAND

        Plaintiff hereby demands a jury trial by the maximum persons permitted by law on all

issues herein triable to a jury.


Dated: March 31, 2021                         Respectfully submitted,

                                              /s/ David W. Garrison_____________
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